            Case 18-33818-KLP                 Doc 1       Filed 07/27/18 Entered 07/27/18 11:07:47                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF VIRGINIA

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Delta Education Systems, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Delta Educational Services, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  c/o The UPS Store
                                  P.O. Box 1197                                                   107 S West Street, Ste. 823
                                  Richmond, VA 23218-1197                                         Alexandria, VA 22314
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Richmond City                                                   Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.deltaed.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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          Delta Education Systems, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6113

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
                                        Chapter 11. Check all that apply:
                                                         Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                            Case number
                                                 District                                 When                            Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     see Petition Exhibit 1                                       Relationship
                                                 District                                 When                           Case number, if known




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                                                                                   Case number (if known)
         Delta Education Systems, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors
                                 50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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          Delta Education Systems, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       7/27/2018
                                                  MM / DD / YYYY


                             X     /s/ Martina Hansen                                                    Martina Hansen
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   CEO Delta Education Systems, Inc.




18. Signature of attorney    X     /s/ Peter J. Barrett                                                   Date    7/27/2018
                                 Signature of attorney for debtor                                                MM / DD / YYYY

                                 Peter J. Barrett 46179
                                 Printed name

                                 Kutak Rock LLP
                                 Firm name

                                 901 East Byrd Street
                                 Suite 1000
                                 Richmond, VA 23219
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      804-644-1700                 Email address      peter.barrett@kutakrock.com

                                 46179 VA
                                 Bar number and State




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                                                                       Petition Exhibit 1

            Corporation                      EIN                   Court
Delta Career Education Corporation       XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
Delta Educational Systems, Inc.          XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
Academy of Court Reporting, Inc.         XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
Atlantic Coast Colleges, Inc.            XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
Berks Technical Institute, Inc.          XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
Creative Circus, Inc.                    XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
McCann Education Centers, Inc.           XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
McCann School of Business and XX-XXXXXXX              USBC Eastern District   of Virginia,
Technology, Inc.                                      Richmond Division
Miller-Motte Business College, Inc. XX-XXXXXXX        USBC Eastern District   of Virginia,
                                                      Richmond Division
National Career Education, Inc.          XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
Palmetto Technical College, Inc.         XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
Piedmont Business College, Inc.          XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
Southwest Business Colleges, Inc.        XX-XXXXXXX   USBC Eastern District   of Virginia,
                                                      Richmond Division
The Miami-Jacobs Business College XX-XXXXXXX          USBC Eastern District   of Virginia,
Company                                               Richmond Division
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

                                                              )
    In re:                                                    )     Chapter 7
                                                              )
    DELTA CAREER EDUCATION                                    )     Case No. 18-_____ (___)
    CORPORATION, et al.,1                                     )
                                                              )     Joint Administration Requested
                             Debtor.                          )
                                                              )

                             GLOBAL NOTES AND
                 STATEMENT OF LIMITATIONS, METHODOLOGY,
            AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
       OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Delta Career Education Corporation and certain of its subsidiaries and affiliates
(collectively, the “Debtors”), have filed their Schedules of Assets and Liabilities (the “Schedules”)
and Statements of Financial Affairs (the “Statements”) in the United States Bankruptcy Court for
the Eastern District of Virginia (the “Bankruptcy Court”). The Debtors, with the assistance of
their legal advisors, prepared the Schedules and Statements in accordance with section 521 of title
11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of
Bankruptcy Procedure.

       Martina Hansen has signed the Schedules and Statements. Ms. Hansen serves as the Chief
Executive Officer of each of the Debtors, is the Debtors’ representative in bankruptcy and is
authorized to sign on behalf of the Debtors. In reviewing and signing the Schedules and
Statements, Ms. Hansen has necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ legal advisors.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes to
the Schedules and Statements. As a result, inadvertent errors or omissions may exist. Accordingly,
the Debtors and their directors, officers, agents and advisors do not guarantee or warrant the

1    The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
     number, include Delta Career Education Corporation (5135); Delta Educational Systems, Inc. (9702); National
     Career Education, Inc. (3855); Southwest Business Colleges, Inc. (3438); Creative Circus, Inc. (1026); Atlantic
     Coast Colleges, Inc. (4068); McCann Education Centers, Inc. (2761); Berks Technical Institute, Inc. (9439);
     McCann School of Business and Technology (2608); Miller-Motte Business College, Inc. (1751); Palmetto
     Technical College, Inc. (6130); Piedmont Business Colleges, Inc. (4202); Academy of Court Reporting, Inc.
     (3484); and The Miami-Jacobs Business College Company (9487).




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accuracy or completeness of the data that is provided in the Schedules and Statements and shall
not be liable for any loss or injury arising out of, or caused in whole or in part by, the acts, errors,
or omissions, whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating, or delivering the information contained in the Schedules and
Statements.

        For the avoidance of doubt, the Debtors and their agents and advisors hereby reserve their
rights to amend and supplement the Schedules and Statements as may be necessary or appropriate,
but expressly do not undertake any obligation to update, modify, revise, or re-categorize the
information provided in the Schedules and Statements or to notify any third party should the
information be updated, modified, revised, or re-categorized, except as required by applicable law.

       In no event shall the Debtors or their directors, officers, agents, attorneys, and financial
advisors be liable to any third party for any direct, indirect, incidental, consequential, or special
damages (including, but not limited to, damages arising from the disallowance of a potential claim
against the Debtors or damages to business reputation, lost business, or lost profits), whether
foreseeable or not and however caused, even if the Debtors or their directors, officers, agents,
attorneys, and financial advisors are advised of the possibility of such damages.

                             Global Notes and Overview of Methodology

1.       Description of Case. On July 26 and 27, 2018 (the “Petition Date”), the Debtors filed
         voluntary petitions for relief under chapter 7 of the Bankruptcy Code. Each Debtor has
         filed its own Schedules and Statements. The information provided in the Schedules and
         Statements, except as otherwise noted, is reported as of the Petition Date. A corporate
         organizational chart is appended to these global notes (the “Global Notes”). Delta Career
         Education Corporation and Delta Educational Systems, Inc. serve as holding companies
         for the other twelve debtors.

2.       Global Notes Control. These Global Notes pertain to and comprise an integral part of
         each of the Debtors’ Schedules and Statements and should be referenced in connection
         with any review thereof. In the event that the Schedules and Statements conflict with the
         Global Notes, the Global Notes shall control.

3.       Reservations and Limitations. Reasonable efforts have been made to prepare and file
         complete and accurate Schedules and Statements. However, as noted above, inadvertent
         errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
         Schedules and Statements as may be necessary or appropriate but do not undertake any
         obligation to do so, except as required by applicable law. Nothing contained in the
         Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an admission
         of any kind with respect to these chapter 7 cases. Any specific reservation of rights
         contained elsewhere in these Global Notes does not limit in any respect the general
         reservation of rights contained in this paragraph.

         (a)       No Admission. Nothing contained in the Schedules and Statements or the Global
                   Notes is intended to be or should be construed as an admission or stipulation of the
                   validity of any claim against the Debtors or any assertion made.



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         (b)       Recharacterization and Classifications. Notwithstanding that the Debtors have
                   made reasonable efforts to correctly characterize, classify, categorize, or designate
                   certain claims, assets, executory contracts, unexpired leases, and other items
                   reported in the Schedules and Statements, the Debtors nonetheless may have
                   improperly characterized, classified, categorized, or designated certain items. The
                   Debtors thus reserve all rights to recharacterize, reclassify, recategorize, or
                   redesignate items reported in the Schedules and Statements at a later time as is
                   necessary and appropriate.

                   For the avoidance of doubt, listing (i) a claim on Schedule D as “secured,” (ii) a
                   claim on Schedule E/F as “priority” or “unsecured,” or (iii) a contract on
                   Schedule G as “executory” or “unexpired” does not constitute an admission by the
                   Debtors of the legal rights of the claimant or contract counterparty or a waiver of
                   any rights to recharacterize or reclassify such claim or contract.

         (c)       Claims Description. Any failure to designate a claim on a given Debtor’s
                   Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                   constitute an admission by such Debtor that such amount is not “disputed,”
                   “contingent,” or “unliquidated.” Moreover, listing a claim does not constitute an
                   admission of liability by the Debtors. The Debtors reserve all rights to amend their
                   Schedules and Statements as necessary and appropriate, including, but not limited
                   to, with respect to claim description and designation.

         (d)       Estimates and Assumptions. The preparation of the Schedules and Statements
                   required the Debtors to make reasonable estimates and assumptions with respect to
                   the reported amounts, including but not limited to amounts of assets and liabilities,
                   the amount of contingent assets and contingent liabilities on the date of filing the
                   Schedules and Statements, and the reported amounts of revenues and expenses
                   during the applicable reporting periods. Actual results could differ materially from
                   such estimates.

         (e)       Causes of Action. Despite reasonable efforts, the Debtors may not have identified
                   and/or set forth all of their causes of action (filed or potential) against third parties
                   as assets in their Schedules and Statements, including, without limitation,
                   avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
                   other relevant bankruptcy and non-bankruptcy laws to recover assets. Nothing in
                   these Global Notes or the Schedules and Statements should be construed as a waiver
                   of any such causes of action.

         (f)       Intellectual Property Rights. Exclusion of any intellectual property should not
                   be construed as an admission that such intellectual property rights have been
                   abandoned, terminated, or otherwise expired by their terms, or assigned or
                   otherwise transferred pursuant to a sale, acquisition, or other transaction.
                   Conversely, inclusion of certain intellectual property should not be construed as an
                   admission that such intellectual property rights have not been abandoned,
                   terminated, or otherwise expired by their terms, or assigned or otherwise transferred
                   pursuant to a sale, acquisition, or other transaction.


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          (g)      Employees. All employees were employed and paid by Delta Career Education
                   Corporation.

4.        Transaction. On January 18, 2018, STVT-AAI Education, Inc. (d/b/a Ancora Education)
          acquired certain assets from the Debtors, including campuses operating under the names
          of Berks Technical Institute, McCann School of Business and Technology, Miller-Motte
          College, Miller Motte Technical College and Creative Circus as well as certain campuses
          that offered professional truck driver training under the name of International Schools (the
          “Transaction”).2 Following the closing of the Transaction, the Debtors began the wind-
          down of their remaining assets, which wind-down has now been completed. In connection
          with the wind down, the Debtors closed all remaining leased locations and, except as
          specifically set forth in the Schedules and Statements, disposed of the remaining assets
          located at such leased locations, primarily by donating those assets to local schools or
          charities such as Goodwill. Where donation was unavailable or impractical, certain assets
          were disposed of as waste. A very small number of items were sold. In those instances
          where a sale was conducted, the funds received were deposited into the Debtors’ bank
          accounts. As part of the wind down, the Debtors ceased business operations and, as of the
          Petition Date, the Debtors have no office locations. The Alexandria, Virginia mailing
          address noted on the petitions and in the Schedules and Statements is not an office or
          location of the Debtors but is a mail box at The UPS Store in Alexandria, Virginia used by
          the Debtors to receive mail. In addition, the Debtors’ registered agents for service of
          process have resigned or were terminated following the Transaction, thereby implicating
          Va. Code § 12.1-19.1.

5.        Methodology.Basis of Presentation. The Schedules and Statements do not purport to
          represent financial statements prepared in accordance with Generally Accepted
          Accounting Principles in the United States (“GAAP”) nor are they intended to be fully
          reconciled to the financial statements of the Debtors. The Schedules and Statements
          contain unaudited information that is subject to further review and potential adjustment.
          The Schedules and Statements reflect the Debtors’ reasonable efforts to report the assets
          and liabilities of the Debtors on an unconsolidated basis.

          (b)      Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
                   may properly be disclosed in response to multiple parts of the Statements and
                   Schedules. To the extent these disclosures would be duplicative, the Debtors have
                   determined to only list such assets, liabilities, and prepetition payments once.

          (c)      Net Book Value. Current market valuations for individual items of property and
                   other assets are neither maintained by, nor readily available to, the Debtors.
                   Accordingly, unless otherwise indicated, the Debtors’ Schedules and Statements
                   reflect net book values as of June, 2018. Market values may vary—at some times
                   materially—from net book values. Assets that have been fully depreciated or that
                   were expensed for accounting purposes either do not appear in these Schedules and
                   Statements or are listed with a zero-dollar value, as such assets have no net book

2   The Amended and Restated Asset Purchase Agreement executed in connection with the Transaction and related
     documents are available for inspection by the Chapter 7 Trustee.



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                   value. The omission of an asset from the Schedules and Statements does not
                   constitute a representation regarding the ownership of such asset and any such
                   omission does not constitute a waiver of any rights with respect to such asset.

         (d)       Property and Equipment. Unless otherwise indicated, owned property and
                   equipment are valued at net book value. Nothing in the Schedules and Statements
                   is, or should be construed as, an admission as to the determination of the legal status
                   of any lease (including whether any lease is a true lease or a financing arrangement).

         (e)       Unknown Amounts. The description of an amount as “unknown” is not intended
                   to reflect upon the materiality of such amount.

         (f)       Totals. All totals that are included in the Schedules and Statements represent totals
                   of all known amounts. To the extent there are unknown or undetermined amounts,
                   the actual total may be different than the listed total.

         (g)       Credits and Adjustments. The claims of individual creditors are listed as the
                   amounts entered on the Debtors’ books and records and may not reflect credits or
                   other adjustments due from such creditors to the Debtors.

         (h)       Intercompany Claims. Following the Transaction, the Debtors’ books and records
                   have not been fully updated and reconciled. Intercompany claims, which may be
                   debt or equity, in some instances are not reported on Statement 4, Schedule A/B,
                   and Schedule E/F because such intercompany claims are not evident per the
                   Debtors’ books and records.

         (i)       Guarantees and Other Secondary Liability Claims. The Debtors have exercised
                   reasonable efforts to locate and identify guarantees in their executory contracts,
                   unexpired leases, financings, and other such agreements. The Debtors may have
                   inadvertently omitted guarantees embedded in their contractual agreements and
                   may identify additional guarantees as they continue to review their books and
                   records and contractual agreements. The Debtors reserve their right, but are not
                   required, to amend the Schedules and Statements if additional guarantees are
                   identified.

         (j)       Excluded Assets and Liabilities. The Debtors have excluded certain categories of
                   assets and liabilities from the Schedules and Statements, including, but not limited
                   to: certain deferred charges, accounts, or reserves recorded only for purposes of
                   complying with the requirements of GAAP; deferred revenue accounts; and certain
                   accrued liabilities. Other immaterial assets and liabilities may also have been
                   excluded.

         (k)       Liens. The property and equipment listed in the Schedules and Statements are
                   presented without consideration of any liens.

         (l)       Setoffs. The Debtors may have incurred setoffs and net payments in the ordinary
                   course of business. Such setoffs and nettings may occur due to a variety of
                   transactions or disputes. Although such setoffs and other similar rights may have


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                   been accounted for when scheduling certain amounts, these setoffs are not
                   independently accounted for and, as such, are or may be excluded from the Debtors’
                   Schedules and Statements. In addition, some amounts listed in the Schedules and
                   Statements may have been affected by setoffs or nettings by third parties of which
                   the Debtors are not yet aware.

6.       Specific Schedules Disclosures.

         (a)       Schedule A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
                   Prepayments. The Debtors’ cash balances are listed as of the Petition Date.

         (b)       Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
                   in Incorporated and Unincorporated Businesses, including any Interest in an
                   LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
                   been listed in Schedule A/B, Part 4, as $0 because those subsidiaries have also filed
                   voluntary petitions under chapter 7 of the Bankruptcy Code.

         (c)       Schedule A/B, Part 7 – Office Furniture, Fixtures and Equipment; and
                   Collectibles. See Note No. 4 above.

         (d)       Schedule A/B, Part 9 – Real Property. Following the Transaction, the Debtors
                   moved out of their leased locations and returned such locations to their respective
                   landlords. A list of the Debtors’ prior leased locations is available for inspection.

         (e)       Schedule A/B, Part 10 – Intangibles and Intellectual Property. The Debtors
                   have retained certain student records in the ordinary course of business subject to a
                   privacy policy and document retention protocol.

         (f)       Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
                   impairments and other adjustments.

                   Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
                   including Counterclaims of the Debtors and Rights to Setoff Claims. In the
                   ordinary course of business, the Debtors may have accrued certain rights to counter-
                   claims, cross-claims, setoffs, and refunds with third-parties. Because certain of
                   these claims are unknown to the Debtors and not quantifiable as of the Petition
                   Date, they may not be listed on Schedule A/B, Part 11.

                   Interests in Insurance Policies or Annuities. A list of the Debtors’ insurance
                   policies and related information is available to the Trustee, creditors or other parties
                   in interest. The Debtors believe there is little or no cash value to the vast majority
                   of such insurance policies.

                   Tax Refunds and Unused Net Operating Losses (NOLs). Because the Debtors’
                   federal returns are filed on a consolidated basis, the federal NOL is only reported
                   on the Schedules of Delta Career Education Corporation. In addition, the Debtors,
                   in the ordinary course of business, have used refunds from one tax year to pre-pay
                   certain taxes, such as franchise taxes, for the following year. These prepayments


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                   may result, once the tax returns for fiscal year 2017 are completed, in one or more
                   refunds in undetermined amounts.

                   Other Property of any Kind Not Already Listed. The Debtors have an interest
                   under (i) that certain Commercial Surety General Indemnity Agreement, dated
                   September 9, 2013, between RLI Corp. and the Debtors, and (ii) that certain
                   Agreement of Indemnity Commercial Bond, dated July 13, 2010, between
                   International Fidelity Insurance Company and the Debtors (collectively, clauses (i)
                   and (ii) the “Contracts”). The Debtors also have an interest in and to certain funds
                   and proceeds from the Contracts held by providers of the surety bonds under the
                   Contracts. The Debtors’ interest in such Contracts, funds and the proceeds
                   therefrom is limited to the extent set forth in that certain Escrow Agreement, dated
                   January 18, 2018, by and between certain of the Debtors, Ancora Intermediate
                   Holdings, LLC and Citibank, N.A. as well as certain other agreements executed in
                   connection with the Transaction.

         (g)       Schedule D – Creditors Who Have Claims Secured by Property.

                   The descriptions provided in Schedule D are intended only to be a summary.
                   Reference to the applicable agreements and other related relevant documents is
                   necessary for a complete description of the collateral and to determine the nature,
                   extent, and priority of any liens. Nothing in the Global Notes or the Schedules and
                   Statements shall be deemed a modification or interpretation of the terms of such
                   agreements. In certain instances, a Debtor may be a co-obligor or guarantor with
                   respect to scheduled claims of another Debtor and no claim set forth on Schedule
                   D of any Debtor is intended to acknowledge claims of creditors that are otherwise
                   satisfied or discharged by other entities.

                   Field Point Agency Services, Inc. (the “Secured Agent”) as the administrative agent
                   under that certain Amended and Restated Credit Agreement (the “Credit
                   Agreement”), dated November 22, 2016, has a secured and perfected lien on
                   substantially all assets of the Debtors. The amounts set forth as outstanding under
                   the Debtors’ prepetition loan facilities reflect approximate amounts as of the
                   Petition Date.

         (h)       Schedule E/F – Creditors Who Have Unsecured Claims.

                   Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
                   in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
                   Debtors made a reasonable attempt to set forth their unsecured obligations,
                   although the actual amount of claims against the Debtors may vary from those
                   liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
                   the correct amount of any unsecured creditor’s allowed claims or the correct
                   amount of all unsecured claims.

                   Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                   to executory contracts and unexpired leases. Schedule E/F, Part 2, does not include



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                   claims that may arise in connection with the rejection or termination of any
                   executory contracts or unexpired leases.

                   In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
                   incurred on various dates or on a date or dates that are unknown to the Debtors or
                   are subject to dispute. Where the determination of the date on which a claim arose,
                   accrued, or was incurred would be unduly burdensome, the Debtors have not listed
                   a specific date or dates for such claim.

                   As of the time of filing of the Schedules and Statements, the Debtors had not
                   received all invoices for payables, expenses, and other liabilities that may have
                   accrued prior to the Petition Date. Accordingly, the information contained in
                   Schedules D and E/F may be incomplete. The Debtors reserve their right to, but
                   undertake no obligations to, amend Schedules D and E/F if and as they receive such
                   invoices.

                   The Secured Agent also would have an unsecured deficiency claim to the extent
                   that the value of the collateral does not cover the amounts due under the Credit
                   Agreement.

         (i)       Schedule G – Executory Contracts and Unexpired Leases. While reasonable
                   efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
                   omissions may have occurred.

                   Listing a contract or agreement on Schedule G does not constitute an admission
                   that such contract or agreement is an executory contract or unexpired lease or that
                   such contract or agreement was in effect on the Petition Date or is valid or
                   enforceable. Certain of the leases and contracts listed on Schedule G may contain
                   renewal options, guarantees of payment, indemnifications, options to purchase,
                   rights of first refusal, and other miscellaneous rights. Such rights, powers, duties,
                   and obligations are not set forth separately on Schedule G. In addition, the Debtors
                   may have entered into various other types of agreements in the ordinary course of
                   their business, such as supplemental agreements and letter agreements, which
                   documents may not be set forth in Schedule G.

                   In some cases, the same supplier or provider may appear multiple times in
                   Schedule G. Multiple listings, if any, reflect distinct agreements between the
                   Debtors and such supplier or provider.

                   The listing of any contract on Schedule G does not constitute an admission by the
                   Debtors as to the validity of any such contract. Omission of a contract or agreement
                   from Schedule G does not constitute an admission that such omitted contract or
                   agreement is not an executory contract or unexpired lease.

7.       Specific Statements Disclosures.

         (a)       Statements, Part 1, Question 1 – Income and Gross Revenue. Amounts are
                   listed for the current fiscal year through June 30, 2018, the normal end of the


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                   Debtors’ fiscal year, rather than the Petition Date. Since the Debtors’ operations
                   ceased at the end of May 2018, with one single exception, the Debtors did not
                   receive any material revenue from the date of reporting through the Petition Date.
                   On July 2, 2018, Delta Educational Systems, Inc. received a wire transfer in the
                   amount of $500,000 in connection with the termination of certain surety bonds
                   following the cessation of operations as set forth in more detail in the documents
                   related to the Transaction. Finally, tuition and bookstore revenue, included in the
                   total revenue amounts, are reported on a net basis, tracking with the Debtors’
                   audited financial statements.

         (b)       Statements, Part 2, Questions 3 and 4 – Payments to Certain Creditors.

                   The payments to creditors and insiders listed in response to Questions 3 and 4 on
                   each of the Debtors’ Statements reflect only payments made directly by that Debtor.

                   Because of the centralized nature of the Debtors’ cash management system, the
                   Debtors have not disclosed intercompany activity that took place between the
                   Debtors’ various accounts at Bank of America. All other intercompany activity has
                   been disclosed. The Debtors will make the Bank of America account statements,
                   along with bank account reconciliations, available for inspection by the Trustee, the
                   United States Trustee, creditors and parties in interest. In addition, certain
                   payments may be listed in other portions of the Statements and may not be
                   duplicated herein.

         (c)       Statements, Part 4, Question 9 – Certain Gifts and Charitable Contributions.
                   See Note No. 4 above.

         (d)       Statements, Part 5, Question 10 – Certain Losses. Given the scale of the
                   Debtors’ prior business, certain losses cannot be tracked by the Debtors with
                   complete accuracy. As such, only known losses have been included in the listing.

         (e)       Statements, Part 6, Question 13 – Other Transfers. See Note No. 4 above.

         (f)       Statements, Part 7, Question 14 – Previous Addresses. Leased school locations
                   were used by certain Debtors during the last three years and those leases may be
                   disclosed on Schedule G. The previous addresses disclosed in response to Question
                   14 are corporate locations, as opposed to leased school locations, that have, at
                   relevant times, been used by the Debtors in the three years prior to the Petition Date.
                   The Debtors’ mailing address of 107 S West Street, Ste. 823 (c/o The UPS Store),
                   Alexandria, VA 22314 is a mail box at The UPS Store in Alexandria, Virginia used
                   by the Debtors to receive mail and such address is not an office or location of the
                   Debtors.

         (g)       Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
                   The Debtors have used their best efforts to disclose the identities of certain parties,
                   such as banks, auditors, potential investors, vendors, and financial advisors who
                   have received financial statements. However, the Debtors do not maintain



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                   complete lists or other records tracking such disclosures. Therefore, the Debtors
                   may have not provided full lists of these parties in their responses to Question 26.

         (h)       Statements, Part 13, Question 28 – Current Partners, Officers, Directors, and
                   Shareholders. Delta Career Education Corporation incorporates by reference the
                   List of Equity Security Holders filed as part of its Voluntary Petition. In addition,
                   the Debtors have listed only entities that are the direct owners of an individual
                   Debtor.

         (i)       Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
                   Credited or Given to Insiders. Distributions by the Debtors to their directors,
                   officers and shareholders are provided in response to Questions 3 and 4. Certain
                   directors and executive officers of one debtor are also directors and executive
                   officers of certain of the other debtors. To the extent payments to such individuals
                   are not listed in the response to Questions 3 and 4 on the Statements for such other
                   debtors, they did not receive payment for their services as directors or executive
                   officers of these entities. Certain of the Debtors’ directors and executive officers
                   received distributions net of tax withholdings in the year preceding the Petition
                   Date. The amounts listed under Questions 3 and 4 reflect the gross amounts paid
                   to such directors and executive officers rather than the net amounts after deducting
                   for tax withholdings.

8.       Disclosure of Compensation of Attorney for Debtors. Following the consummation of
         the Transaction, certain funds were transferred to, deposited with or remained in accounts
         controlled by Delta Career Education Corporation for its benefit and the benefit of the other
         Debtors in order to fund the Debtors’ wind down. Kutak Rock LLP (“Kutak Rock”), as
         counsel for the Debtors, received a retainer in the aggregate amount of $270,000, or
         $19,285.71 per Debtor. Prior to the Petition Date, Kutak Rock applied $186,328.74
         ($13,309.20 per Debtor) of this amount to outstanding pre-petition invoices. The balance,
         $83,671.26 ($5,976.52 per Debtor), was accepted as an advanced fixed fee by Kutak Rock
         for its services to the Debtors. The Debtors also advanced to Kutak Rock chapter 7 filing
         fees totaling $4,690.00 ($335 per Debtor).




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                                                     Corporate Organizational Chart




                                                                               Delta Career Education Corporation
                                                                                              EIN XX-XXXXXXX




                                                    Delta Educational Systems,                                                            National Career Education,
                                                               Inc.                                                                                  Inc.
                                                            EIN: XX-XXXXXXX                                                                    EIN XX-XXXXXXX




                                                                                                                                             Southwest Business
                                     Creative Circus, Inc.             Berks Technical Institute, Inc.
                                                                                                                                                Colleges, Inc.
                                          EIN: XX-XXXXXXX                     EIN: XX-XXXXXXX
                                                                                                                                               EIN: XX-XXXXXXX




                                                                        McCann School of Business
                                                                          and Technology, Inc.
                                                                              EIN: XX-XXXXXXX




                                    Atlantic Coast Colleges,
                                              Inc.
                                          EIN: XX-XXXXXXX




                    McCann Education                                                               Miller-Motte Business
                      Centers, Inc.                                                                     College, Inc.
                        EIN: XX-XXXXXXX                                                                  EIN: XX-XXXXXXX




 The Miami-Jacobs Business            Academy of Court                            Palmetto Technical                  Piedmont Business
     College Company                   Reporting, Inc.                               College, Inc.                       Colleges, Inc.
      EIN: XX-XXXXXXX                     EIN: XX-XXXXXXX                          EIN: XX-XXXXXXX                     EIN: XX-XXXXXXX




                                                                                  11
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 Fill in this information to identify the case:

 Debtor name            Delta Education Systems, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        1,447,716.25

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        1,447,716.25


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      15,459,239.64


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        15,459,239.64




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                                                 Document      Page 18 of 76
 Fill in this information to identify the case:

 Debtor name          Delta Education Systems, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Bank of America                                        Operating Account                5010                                  $27,595.21



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $27,595.21
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Idera Inc. - SQL Safe                                                                                                         $12,008.65




            7.2.     Idera Inc. - SQL Diagnostic Manager                                                                                             $2,585.96




            7.3.     Salesforce.com - Call Center                                                                                                  $85,877.62

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor           Delta Education Systems, Inc.                                              Case number (If known)
                  Name




           7.4.     Salesforce.com - Marketing Cloud                                                                           $96,262.27




           7.5.     ESI - Microsoft Agreement                                                                                $118,084.06




           7.6.     ESI - CISCO SmartNet                                                                                       $59,147.44




           7.7.     Lexmark - Jadu/Perceptive                                                                                     $5,186.05




           7.8.     ESI - Sophos Endpoint                                                                                      $12,917.26




           7.9.     ESI - VMware                                                                                               $27,412.96



           7.10
           .    Solarwinds                                                                                                        $8,552.29



           7.11
           .    Bomgar Corp. - Maintenance                                                                                        $8,481.70



           7.12
           .    Citrix Systems, Inc. - NetSclaer                                                                               $49,087.74



           7.13
           .    Onix Networking - Google Apps                                                                                $101,162.90



           7.14
           .    Onix Networking - Chrome Management                                                                            $16,515.85



           7.15
           .    BMC Software - Remedyforce                                                                                     $20,934.19



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Wonderlic Tests                                                                                               $9,657.10


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 2
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 Debtor           Delta Education Systems, Inc.                                              Case number (If known)
                  Name




           8.2.     SmarterServices                                                                                             $16,344.07




           8.3.     Springshare LLC - Library Subscription                                                                        $3,023.81




           8.4.     Parchment                                                                                                   $18,548.36




           8.5.     Boomi Inc. - AtomSphere                                                                                     $26,632.02




           8.6.     NASFAA Dues                                                                                                   $3,325.01




           8.7.     AlaCard One - Gift card shells                                                                                $2,065.00




           8.8.     Comdata - Gas, CDL Trucks                                                                                   $24,208.03




           8.9.     Cooley LLP - Legal Retainer                                                                                 $74,907.00



           8.10
           .    LinkedIn - Recruiting Fees                                                                                        $6,128.79



           8.11
           .    CDW Government - Chromebooks                                                                                  $432,512.73



           8.12
           .    CDW Government - Google Chrome                                                                                  $46,291.73



           8.13
           .    Library & Information Resources                                                                               $105,072.35



           8.14
           .    iParadigms - Turnitin                                                                                           $27,012.10




 9.        Total of Part 2.                                                                                               $1,419,945.04
           Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 3
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 Debtor         Delta Education Systems, Inc.                                                Case number (If known)
                Name

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                     Valuation method used     Current value of
                                                                                                     for current value         debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    Creative Circus, Inc.                                          100       %                                                  $0.00




            15.2.    Berks Technical Institute, Inc.                                100       %                                                  $0.00




            15.3.    Atlantic Coast Colleges, Inc.                                  100       %                                                  $0.00




            15.4.    McCann Education Centers, Inc.                                 100       %                                                  $0.00




            15.5.    Miller-Motte Business College, Inc.                            100       %                                                  $0.00



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                                $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                Name


     Yes Fill in the information below.

 Part 7:    Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                        Current value of
                                                                                                                        debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            State of Pennsylvania                                                              Tax year 2016                          $176.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 5
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 Debtor         Delta Education Systems, Inc.                                                Case number (If known)
                Name



 78.       Total of Part 11.                                                                                                      $176.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 6
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 Debtor          Delta Education Systems, Inc.                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $27,595.21

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $1,419,945.04

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                       $176.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,447,716.25            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,447,716.25




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
          Case 18-33818-KLP                         Doc 1         Filed 07/27/18 Entered 07/27/18 11:07:47                                   Desc Main
                                                                 Document      Page 25 of 76
 Fill in this information to identify the case:

 Debtor name          Delta Education Systems, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
        Field Point Agency Services,
 2.1                                                                                                                        $15,459,239.64                  Unknown
        Inc.                                          Describe debtor's property that is subject to a lien
        Creditor's Name                               All assets
        80 Field Point Road, Ste. 101
        Greenwich, CT 06830
        Creditor's mailing address                    Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        11/22/2016                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



                                                                                                                              $15,459,239.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       64

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Marblegate Special Opportunities
         Master Fund, L.P.                                                                                     Line   2.1
         80 Field Point Road, Ste. 101
         Greenwich, CT 06830




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
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          Case 18-33818-KLP                        Doc 1          Filed 07/27/18 Entered 07/27/18 11:07:47                                          Desc Main
                                                                 Document      Page 26 of 76
 Fill in this information to identify the case:

 Debtor name         Delta Education Systems, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           Baltimore County                                                   Contingent
           c/o Baltimore County Attorney                                      Unliquidated
           400 Washington Avenue                                              Disputed
           Towson, MD 21204
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           Berks County                                                       Contingent
           c/o Berks County Solicitor                                         Unliquidated
           633 Court Street, 13th Floor                                       Disputed
           Reading, PA 19601
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           Borough of Carlisle                                                Contingent
           c/o Carlisle Borough Attorney                                      Unliquidated
           53 W South Street                                                  Disputed
           Carlisle, PA 17013
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           Borough of Catasauqua                                              Contingent
           c/o Lehigh County Attorney                                         Unliquidated
           455 Hamilton Street                                                Disputed
           Allentown, PA 18101
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                         25911                                               Best Case Bankruptcy
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 Debtor       Delta Education Systems, Inc.                                                           Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Borough of Hanover                                                  Contingent
          c/o York County Attorney                                            Unliquidated
          45 N George Street                                                  Disputed
          York, PA 17401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Borough of West Goshen                                              Contingent
          c/o Chester County District Attorney                                Unliquidated
          201 W Market Street, #4450                                          Disputed
          West Chester, PA 19382
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Borough of Wyomissing                                               Contingent
          c/o Wyomissing Attorney                                             Unliquidated
          22 Reading Boulevard                                                Disputed
          Wyomissing, PA 19610-2083
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Bucks County                                                        Contingent
          c/o Bucks County District Attorney                                  Unliquidated
          100 N. Main Street                                                  Disputed
          Doylestown, PA 18901
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Chester County                                                      Contingent
          c/o Chester County Attorney                                         Unliquidated
          201 W. Market Street, Suite 4450                                    Disputed
          West Chester, PA 19380-0989
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          City of Cincinnati                                                  Contingent
          c/o Cincinnati City Attorney                                        Unliquidated
          801 Plum Street                                                     Disputed
          Cincinnati, OH 45202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          City of Columbus                                                    Contingent
          c/o Columbus City Attorney                                          Unliquidated
          77 North Front Street                                               Disputed
          Columbus, OH 43215
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
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 Debtor       Delta Education Systems, Inc.                                                           Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          City of Dayton                                                      Contingent
          c/o Dayton City Attorney                                            Unliquidated
          101 W. Third Street                                                 Disputed
          Dayton, OH 45402
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          City of Granville                                                   Contingent
          c/o Licking County Attorney                                         Unliquidated
          20 S. Second Street                                                 Disputed
          Newark, OH 43055
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          City of Hazelton                                                    Contingent
          c/o Luzerne County Attorney                                         Unliquidated
          200 N River Street                                                  Disputed
          Wilkes Barre, PA 18711
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          City of Pottsville                                                  Contingent
          c/o Schuylkill County Attorney                                      Unliquidated
          401 N 2nd Street                                                    Disputed
          Pottsville, PA 17901
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          City of Springboro                                                  Contingent
          c/o Warren County Attorney                                          Unliquidated
          500 Justice Drive                                                   Disputed
          Lebanon, OH 45036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          City of Sunbury                                                     Contingent
          c/o Sunbury City Attorney                                           Unliquidated
          225 Market Street                                                   Disputed
          Sunbury, PA 17801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          City of Troy                                                        Contingent
          c/o Miami County Attorney                                           Unliquidated
          201 W. Main Street, 2nd Floor                                       Disputed
          Troy, OH 45373
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
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 Debtor       Delta Education Systems, Inc.                                                           Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          County of Anne Arundel                                              Contingent
          c/o Anne Arundel County Attorney                                    Unliquidated
          Heritage Complex, 2660 Riva Road                                    Disputed
          Annapolis, MD 21404
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          County of Montgomery                                                Contingent
          c/o Montgomery County Attorney                                      Unliquidated
          2 E. Airy Street                                                    Disputed
          Norristown, PA 19401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Cumberland County                                                   Contingent
          c/o Cumberland County District Attorney                             Unliquidated
          1 Courthouse Square, Room 202                                       Disputed
          Carlisle, PA 17013
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          District of Columbia                                                Contingent
          c/o District of Columbia Attorney                                   Unliquidated
          555 4th Street, NW                                                  Disputed
          Washington, DC 20530
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Internal Revenue Service                                            Contingent
          400 N. 8th Street                                                   Unliquidated
          P.O. Box 76                                                         Disputed
          Richmond, VA 23219
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Lehigh County                                                       Contingent
          c/o Lehigh County Attorney                                          Unliquidated
          455 Hamilton Street                                                 Disputed
          Allentown, PA 18101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Luzerne County                                                      Contingent
          c/o Luzerne County Attorney                                         Unliquidated
          200 North River Street                                              Disputed
          Wilkes Barre, PA 18711
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 9
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 Debtor       Delta Education Systems, Inc.                                                           Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Newton Township                                                     Contingent
          c/o Bucks County District Attorney                                  Unliquidated
          100 N. Main Street                                                  Disputed
          Doylestown, PA 18901
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Perkiomen Valley School District                                    Contingent
          3 Iron Bridge Drive                                                 Unliquidated
          Collegeville, PA 19426                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Schuykill County                                                    Contingent
          c/o Schuykill County Attorney                                       Unliquidated
          401 N 2nd Street                                                    Disputed
          Pottsville, PA 17901
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Alabama                                                    Contingent
          c/o Alabama Attorney General                                        Unliquidated
          P.O. Box 300152                                                     Disputed
          Montgomery, AL 36130-0152
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Arizona                                                    Contingent
          c/o Arizona Attorney General                                        Unliquidated
          2005 N. Central Avenue                                              Disputed
          Phoenix, AZ 85004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of California                                                 Contingent
          c/o California Attorney General                                     Unliquidated
          600 W. Broadway 1800                                                Disputed
          San Diego, CA 92101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Colorado                                                   Contingent
          c/o Colorado Attorney General                                       Unliquidated
          1300 Broadway, 7th Floor                                            Disputed
          Denver, CO 80203
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 9
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 Debtor       Delta Education Systems, Inc.                                                           Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Florida                                                    Contingent
          c/o Florida Attorney General                                        Unliquidated
          The Capitol PL-01                                                   Disputed
          Tallahassee, FL 32399-1050
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Georgia                                                    Contingent
          c/o Georgia Attorney General                                        Unliquidated
          40 Capitol Square, SW                                               Disputed
          Atlanta, GA 30334
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Illinois                                                   Contingent
          c/o Illinois Attorney General                                       Unliquidated
          100 W. Randolph St., 12th Floor                                     Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Iowa                                                       Contingent
          c/o Iowa Attorney General                                           Unliquidated
          1305 E Walnut Street, #2                                            Disputed
          Des Moines, IA 50319
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Kansas                                                     Contingent
          c/o Kansas Attorney General                                         Unliquidated
          3635 SW Avalon Lane                                                 Disputed
          Topeka, KS 66604
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Louisiana                                                  Contingent
          c/o Louisiana Attorney General                                      Unliquidated
          1885 N 3rd Street                                                   Disputed
          Baton Rouge, LA 70802
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Maryland                                                   Contingent
          c/o Maryland Attorney General                                       Unliquidated
          200 Saint Paul Street                                               Disputed
          Baltimore, MD 21202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 9
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 Debtor       Delta Education Systems, Inc.                                                           Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Michigan                                                   Contingent
          c/o Michigan Attorney General                                       Unliquidated
          525 W Ottawa Street                                                 Disputed
          Lansing, MI 48933
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Mississippi                                                Contingent
          c/o Mississippi Attorney General                                    Unliquidated
          550 High Street                                                     Disputed
          Jackson, MS 39201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Montana                                                    Contingent
          c/o Montana Attorney General                                        Unliquidated
          215 N Sanders Street                                                Disputed
          Helena, MT 59601
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Nevada                                                     Contingent
          c/o Nevada Attorney General                                         Unliquidated
          100 N Carson Street                                                 Disputed
          Carson City, NV 89701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of New Mexico                                                 Contingent
          c/o New Mexico Attorney General                                     Unliquidated
          408 Galistero Street, Villagra Building                             Disputed
          Santa Fe, NM 87501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of North Carolina                                             Contingent
          c/o North Carolina Attorney General                                 Unliquidated
          114 W Edenton Street                                                Disputed
          Raleigh, NC 27603
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Ohio                                                       Contingent
          c/o Ohio Attorney General                                           Unliquidated
          30 E. Broad St., 14th Floor                                         Disputed
          Columbus, OH 43215
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 9
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 Debtor       Delta Education Systems, Inc.                                                           Case number (if known)
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Pennsylvania                                               Contingent
          c/o Pennsylvania Attorney General                                   Unliquidated
          Strawberry Square                                                   Disputed
          Harrisburg, PA 17120
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of South Carolina                                             Contingent
          c/o South Carolina Attorney General                                 Unliquidated
          1000 Assembly Street, Room 519                                      Disputed
          Columbia, SC 29201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Tennessee                                                  Contingent
          c/o Tennessee Attorney General                                      Unliquidated
          P.O. Box 20207                                                      Disputed
          Nashville, TN 37202-0207
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Texas                                                      Contingent
          c/o Texas Attorney General                                          Unliquidated
          P.O. Box 12548                                                      Disputed
          Austin, TX 78711-2548
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Virginia                                                   Contingent
          c/o Virginia Attorney General                                       Unliquidated
          202 North 9th Street                                                Disputed
          Richmond, VA 23219
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Wisconsin                                                  Contingent
          c/o Wisconsin Attorney General                                      Unliquidated
          114 E State Capitol                                                 Disputed
          Madison, WI 53702
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Twin Valley School District                                         Contingent
          4851 N. Twin Valley Road                                            Unliquidated
          Elverson, PA 19520                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 9
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              Name

 3.54      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   Unknown
           Wilkes-Barre Township                                              Contingent
           c/o Luzerne County Attorney                                        Unliquidated
           200 N River Street                                                 Disputed
           Wilkes Barre, PA 18711
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.55      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   Unknown
           Wilmington School District                                         Contingent
           300 Wood Street                                                    Unliquidated
           New Wilmington, PA 16142                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   Unknown
           Xenia School District                                              Contingent
           819 Colorado Drive                                                 Unliquidated
           Xenia, OH 45385                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                               0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                               0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                                 0.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 9 of 9
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 Debtor name         Delta Education Systems, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Delta Education Systems, Inc.

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                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:

    2.1      Academy of Court                  c/o The UPS Store                                 Field Point Agency             D       2.1
             Reporting, Inc.                   107 S West Street, Ste. 823                       Services, Inc.                  E/F
                                               Alexandria, VA 22314
                                                                                                                                G




    2.2      Atlantic Coast                    c/o The UPS Store                                 Field Point Agency             D       2.1
             Colleges, Inc.                    107 S West Street, Ste. 823                       Services, Inc.                  E/F
                                               Alexandria, VA 22314
                                                                                                                                G




    2.3      Berks Technical                   c/o The UPS Store                                 Field Point Agency             D       2.1
             Institutel, Inc.                  107 S West Street, Ste. 823                       Services, Inc.                  E/F
                                               Alexandria, VA 22314
                                                                                                                                G




    2.4      Creative Circus,                  c/o The UPS Store                                 Field Point Agency             D       2.1
             Inc.                              107 S West Street, Ste. 823                       Services, Inc.                  E/F
                                               Alexandria, VA 22314
                                                                                                                                G




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 3
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Delta Career                      c/o The UPS Store                                 Field Point Agency     D       2.1
             Education                         107 S West Street, Ste. 823                       Services, Inc.          E/F
             Corporation                       Alexandria, VA 22314
                                                                                                                        G




    2.6      McCann                            c/o The UPS Store                                 Field Point Agency     D       2.1
             Education Centers                 107 S West Street, Ste. 823                       Services, Inc.          E/F
                                               Alexandria, VA 22314
                                                                                                                        G




    2.7      McCann School of                  c/o The UPS Store                                 Field Point Agency     D       2.1
             Business and                      107 S West Street, Ste. 823                       Services, Inc.          E/F
             Technology                        Alexandria, VA 22314
                                                                                                                        G




    2.8      Miller-Motte                      c/o The UPS Store                                 Field Point Agency     D       2.1
             Business College,                 107 S West Street, Ste. 823                       Services, Inc.          E/F
             Inc.                              Alexandria, VA 22314
                                                                                                                        G




    2.9      National Career                   c/o The UPS Store                                 Field Point Agency     D       2.1
             Education, Inc.                   107 S West Street, Ste. 823                       Services, Inc.          E/F
                                               Alexandria, VA 22314
                                                                                                                        G




    2.10     Palmetto                          c/o The UPS Store                                 Field Point Agency     D       2.1
             Technical College,                107 S West Street, Ste. 823                       Services, Inc.          E/F
             Inc.                              Alexandria, VA 22314
                                                                                                                        G




    2.11     Piedmont                          c/o The UPS Store                                 Field Point Agency     D       2.1
             Business                          107 S West Street, Ste. 823                       Services, Inc.          E/F
             Colleges, Inc.                    Alexandria, VA 22314
                                                                                                                        G




Official Form 206H                                                           Schedule H: Your Codebtors                             Page 2 of 3
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.12     Southwest                         c/o The UPS Store                                 Field Point Agency     D       2.1
             Business                          107 S West Street, Ste. 823                       Services, Inc.          E/F
             Colleges, Inc.                    Alexandria, VA 22314
                                                                                                                        G




    2.13     The Miami-Jacobs                  c/o The UPS Store                                 Field Point Agency     D       2.1
             Business College                  107 S West Street, Ste. 823                       Services, Inc.          E/F
             Co.                               Alexandria, VA 22314
                                                                                                                        G




Official Form 206H                                                           Schedule H: Your Codebtors                             Page 3 of 3
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 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           7/27/2018                              X    /s/ Martina Hansen
                                                                         Signature of individual signing on behalf of debtor

                                                                         Martina Hansen
                                                                         Printed name

                                                                         CEO Delta Education Systems, Inc.
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         Delta Education Systems, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                      $0.00
       From 7/01/2018 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                                      $0.00
       From 7/01/2017 to 6/30/2018
                                                                                                Other


       For year before that:                                                                    Operating a business                                      $0.00
       From 7/01/2016 to 6/30/2017
                                                                                                Other


       For the fiscal year:                                                                     Operating a business                                      $0.00
       From 7/01/2015 to 6/30/2016
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               AMBASSADOR COLLEGE BOOK -                                   5/2/2018                         $10,811.21          Secured debt
               MELVILLE                                                                                                         Unsecured loan repayments
               445 BROAD HOLLOW RD
               SUITE 206
                                                                                                                                Suppliers or vendors
               MELVILLE, NY 11747                                                                                               Services
                                                                                                                                Other

       3.2.
               AMBASSADOR COLLEGE BOOK -                                   5/17/2018                        $11,064.05          Secured debt
               MELVILLE                                                                                                         Unsecured loan repayments
               445 BROAD HOLLOW RD
               SUITE 206
                                                                                                                                Suppliers or vendors
               MELVILLE, NY 11747                                                                                               Services
                                                                                                                                Other

       3.3.
               DIXON HUGHES GOODMAN, LLP                                   5/24/2018                        $15,000.00          Secured debt
               PO BOX 602828                                                                                                    Unsecured loan repayments
               CHARLOTTE, NC 28260                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.4.
               GUARDIAN - ALTERNATE FUNDED                                 5/21/2018                        $11,211.22          Secured debt
               PO BOX 824395                                                                                                    Unsecured loan repayments
               PHILADELPHIA, PA 19182                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.5.
               MARTINA HANSEN                                              5/7/2018                           $1,717.13         Secured debt
               8618 CONOVER PL                                                                                                  Unsecured loan repayments
               ALEXANDRIA, VA 22308                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.6.
               US DEPARTMENT OF VETERAN                                    4/26/2018                          $1,248.00         Secured debt
               AFFAIRS                                                                                                          Unsecured loan repayments
               DEBT MANAGEMENT CENTER                                                                                           Suppliers or vendors
               BISHOP HENRY WHIPPLE FEDERAL                                                                                     Services
               BLDG
                                                                                                                                Other
               ST PAUL, MN 55111

       3.7.
               US DEPARTMENT OF VETERAN                                    4/26/2018                            $630.00         Secured debt
               AFFAIRS                                                                                                          Unsecured loan repayments
               DEBT MANAGEMENT CENTER                                                                                           Suppliers or vendors
               BISHOP HENRY WHIPPLE FEDERAL                                                                                     Services
               BLDG
                                                                                                                                Other
               ST PAUL, MN 55111

       3.8.
               US DEPARTMENT OF VETERAN                                    5/8/2018                           $3,601.00         Secured debt
               AFFAIRS                                                                                                          Unsecured loan repayments
               DEBT MANAGEMENT CENTER                                                                                           Suppliers or vendors
               BISHOP HENRY WHIPPLE FEDERAL                                                                                     Services
               BLDG
                                                                                                                                Other
               ST PAUL, MN 55111

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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.
               RICHARD D. CRAIG                                            6/1/2018                         $15,125.90          Secured debt
               1407 PEMBROKE JONES DR                                                                                           Unsecured loan repayments
               WILMINGTON, NC 28405                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.10
       .
            STVT-AAI                                                       4/27/2018                        $18,776.53          Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.11
       .
            HIGHER ONE INC                                                 4/30/2018                        $98,190.53          Secured debt
               115 MUNSON ST                                                                                                    Unsecured loan repayments
               NEW HAVEN, CT 06511                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.12
       .
            HIGHER ONE INC                                                 5/9/2018                         $32,556.81          Secured debt
               115 MUNSON ST                                                                                                    Unsecured loan repayments
               NEW HAVEN, CT 06511                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.13
       .
            HIGHER ONE INC                                                 5/17/2018                        $65,947.15          Secured debt
               115 MUNSON ST                                                                                                    Unsecured loan repayments
               NEW HAVEN, CT 06511                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.14
       .
            STVT-AAI                                                       5/21/2018                       $298,248.51          Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.15
       .
            HIGHER ONE INC                                                 5/31/2018                          $8,696.66         Secured debt
               115 MUNSON ST                                                                                                    Unsecured loan repayments
               NEW HAVEN, CT 06511                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.16
       .
            UPS                                                            7/13/2018                              $58.31        Secured debt
               PO BOX 7247-0244                                                                                                 Unsecured loan repayments
               PHILADELPHIA, PA 19170                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.17
       .
            BANK OF AMERICA                                                7/16/2018                        $11,998.03          Secured debt
               100 NORTH TRYON STREET                                                                                           Unsecured loan repayments
               CHARLOTTE, NC 28255                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.18
       .
            UPS                                                            7/20/2018                              $58.31        Secured debt
               PO BOX 7247-0244                                                                                                 Unsecured loan repayments
               PHILADELPHIA, PA 19170                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.19
       .
            ANCORA EDUCATION                                               7/12/2018                          $1,120.00         Secured debt
               8701 BEDFORD EULESS ROAD, #400                                                                                   Unsecured loan repayments
               HURST, TX 76053                                                                                                  Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.20
       .
            MARTINA HANSEN                                                 7/18/2018                          $3,365.36         Secured debt
               8618 CONOVER PL                                                                                                  Unsecured loan repayments
               ALEXANDRIA, VA 22308                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.21
       .
            ANCORA EDUCATION                                               7/20/2018                            $334.21         Secured debt
               8701 BEDFORD EULESS ROAD, #400                                                                                   Unsecured loan repayments
               HURST, TX 76053                                                                                                  Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.22
       .
            MARTINA HANSEN                                                 7/25/2018                          $2,692.31         Secured debt
               8618 CONOVER PL                                                                                                  Unsecured loan repayments
               ALEXANDRIA, VA 22308                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Kevin Smith                                                                                 $139,826.02

               Employee




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       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.2.    Bill Nance                                                                                  $236,047.72

               Employee

       4.3.    Martina Hansen                                                                              $192,682.79
               107 S West Street, Ste. 823
               Alexandria, VA 22314
               Employee

       4.4.    Charles Brissman                                                                            $388,990.33

               Employee

       4.5.    John Olsen                                                                                $1,246,004.39

               Employee

       4.6.    Howard Allentoff                                                                            $310,836.21

               Employee

       4.7.    Brandon Krueger                                                                             $182,164.62

               Employee

       4.8.    WHETSTONE CAPITAL LLC                                                                       $103,698.02           Payment to Interim CFO for
               8406 STONE GATE DR                                                                                                compesation
               ANNANDALE, VA 22003

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address




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               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    Reliable Building Solutioln, Inc.                 Complaint for                Hamilton County General                    Pending
               v. Delta Educational Systems,                     breack of contract           Sessions Court                          On appeal
               Inc. aka Miller Motte Techinical                  relating to cleaning,        Courts Building, Courtroom 6,
                                                                                                                                      Concluded
               College or Piedmont Business                      janitorial and               2nd Floor
               Colleges, Inc.                                    related services of          600 Market Street
               18GS5280                                          less than $25,000.           Chattanooga, TN 37402

       7.2.    Springboro-Harrison, Ltd. v. The                  Complaint for                Warren County Court of                     Pending
               Miami-Jacobs Business College                     unpaid rent of               Common Pleas                            On appeal
               Compant                                           $81,900.                     500 Justice Drive
                                                                                                                                      Concluded
               18CV090928                                                                     Lebanon, OH 45036

       7.3.    Francis Hospitality, Inc. and                     Appeal from                  Virginia Supreme Court                  Pending
               Delta Educational Systems, Inc.                   judgment in City of          100 North 9th Street, 5th                  On appeal
               v. Read Properties, LLC d/b/a                     Lynchburg Circuit            Floor
                                                                                                                                      Concluded
               Coldwell Bank Commercial                          Court, Va.                   P.O. Box 1315
               Read & Company                                                                 Richmond, VA 23219
               170894

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value

       9.1.    Jordan Drakes Fund
                                                                                                                            3/31/2017                        $6,000.00

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

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       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     Kutak Rock LLP
                 901 East Byrd Street
                 Suite 1000                                                                                                    May-July
                 Richmond, VA 23219                                  Attorney Fees                                             2018                $19,285.71

                 Email or website address
                 www.kutakrock.com

                 Who made the payment, if not debtor?
                 See Global Notes and Attorney Fee
                 Disclosure



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                 Dates transfers         Total amount or
                                                                                                                       were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                           Description of property transferred or                  Date transfer         Total amount or
                Address                                          payments received or debts paid in exchange             was made                       value
       13.1 Ancora Intermediate Holdings
       .    LLC
                8701 Bedford Euless Road,                        Certain assets from the Debtors, including
                Suite 400                                        certain campuses of the Debtors, as
                Hurst, TX 76053                                  described in the Global Notes.                          1/18/2018                    Unknown

                Relationship to debtor
                Third Party


       13.2 STVT-AAI
       .    8701 Bedford Euless Road,
                Suite 400
                Hurst, TX 76053                                  Returning funds owned by Ancora                         3/13/2018              $2,101,793.00

                Relationship to debtor



       13.3 STVT-AAI
       .    8701 Bedford Euless Road,
                Suite 400
                Hurst, TX 76053                                  Returning funds owned by Ancora                         3/22/2018              $2,993,997.00

                Relationship to debtor




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               Who received transfer?                            Description of property transferred or                  Date transfer        Total amount or
               Address                                           payments received or debts paid in exchange             was made                      value
       13.4 STVT-AAI
       .    8701 Bedford Euless Road,
               Suite 400
               Hurst, TX 76053                                   Returning funds owned by Ancora                         4/19/2018              $164,351.59

               Relationship to debtor



       13.5 STVT-AAI
       .    8701 Bedford Euless Road,
               Suite 400
               Hurst, TX 76053                                   Insurance claim reimbursement                           4/27/2018                $18,776.53

               Relationship to debtor



       13.6 STVT-AAI
       .    8701 Bedford Euless Road,
               Suite 400
               Hurst, TX 76053                                   Returning funds owned by Ancora                         5/21/2018              $298,248.51

               Relationship to debtor



       13.7 Field Point Agency Services,
       .    Inc.
               80 Field Point Road, Ste. 101
               Greenwich, CT 06830                               Payment to secured creditor                             7/5/18                 $700,000.00

               Relationship to debtor



       13.8 Field Point Agency Services,
       .    Inc.
               80 Field Point Road, Ste. 101
               Greenwich, CT 06830                               Payment to secured creditor                             7/6/18                 $113,000.00

               Relationship to debtor



       13.9 Martina Hansen
       .    c/o The UPS Store
               107 S West Street, Ste. 823                       Flat Fee for Service as Debtors' Designated
               Alexandria, VA 22314                              Representative                                          7/6/18                   $52,500.00

               Relationship to debtor



       13.1 Dixon Hughes Goodman LLP
       0.   440 Monticello Avenue, #1400
               Norfolk, VA 23510                                 FY 2017 Tax Returns                                     6/18/2018                $30,000.00

               Relationship to debtor




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                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value
       13.1 US DEPARTMENT OF
       1.   VETERANS AFFAIRS
                ST LOUIS REGIONAL OFFICE
                PO BOX 66830
                ST LOUIS, MO 63166                               Refund                                                  7/5/2018                     $1,100.00

                Relationship to debtor



       13.1 PHEAA
       2.   331 Innovation Blvd
                State College, PA 16803                          Refund                                                  6/19/2018                  $21,693.00

                Relationship to debtor



       13.1 Guardian
       3.   7 Hanover Square
                New York, NY 10004                               Dental Claims                                           6/20/2018                  $25,433.28

                Relationship to debtor



       13.1 Valli Information Systems, Inc.
       4.   915 Main St.
                Caldwell, ID 83605                               W-2 and 1099 Processing                                 6/21/2018                    $2,310.00

                Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     99 Canal Center Plaza, Suite 501
                 Alexandria, VA 22308

       14.2.     4525 Columbus Street, #101
                 Virginia Beach, VA 23462

       14.3.     P.O. Box 66775
                 Virginia Beach, VA 23466

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

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                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Student records
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                 Financial Institution name and                  Last 4 digits of         Type of account or           Date account was             Last balance
                 Address                                         account number           instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred
       18.1.     Bank of America                                 XXXX-3605                 Checking                   5/21/2018                             $0.00
                 Virginia Beach, VA                                                        Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other    Deposit
                                                                                          Account


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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       None
       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Creative Circus, Inc.                            Education                                        EIN:
             c/o The UPS Store
             107 S West Street, Ste. 823                                                                       From-To
             Alexandria, VA 22314

    25.2.    Berks Technical Institute, Inc.                  Education                                        EIN:
             c/o The UPS Store
             107 S West Street, Ste. 823                                                                       From-To
             Alexandria, VA 22314

    25.3.    Atlantic Coast Colleges, Inc.                    Education                                        EIN:
             c/o The UPS Store
             107 S West Street, Ste. 823                                                                       From-To
             Alexandria, VA 22314

    25.4.    McCann Education Centers,                        Education                                        EIN:
             Inc.
             c/o The UPS Store                                                                                 From-To
             107 S West Street, Ste. 823
             Alexandria, VA 22314

    25.5.    Miller-Motte Business College,                   Education                                        EIN:
             Inc.
             c/o The UPS Store                                                                                 From-To
             107 S West Street, Ste. 823
             Alexandria, VA 22314


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Dixon Hughes Goodman LLP
                    440 Monticello Avenue, #1400
                    Norfolk, VA 23510
       26a.2.       Knutte & Associates
                    7900 Cass Avenue #210
                    Darien, IL 60561

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Dixon Hughes Goodman LLP
                    440 Monticello Avenue, #1400
                    Norfolk, VA 23510




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       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       Knutte & Associates
                    7900 Cass Avenue #210
                    Darien, IL 60561

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Martina Hansen, CEO
                    c/o The UPS Store
                    107 S West Street, Ste. 823
                    Alexandria, VA 22314
       26c.2.       Dixon Hughes Goodman LLP
                    440 Monticello Avenue, #1400
                    Norfolk, VA 23510
       26c.3.       Knutte & Associates
                    7900 Cass Avenue #210
                    Darien, IL 60561
       26c.4.       Service Solutions for IT
                    917 Queen Street
                    Portsmouth, VA 23704
       26c.5.       Iron Mountain
                    1 Federal Street
                    Boston, MA 02110

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  ACCREDITATION REVIEW COUNCIL ON EDUCATIO
                    6 WEST DRY CREEK CIRCLE
                    SUITE 110
                    LITTLETON, CO 80120
       26d.2.       ACICS
                    750 FIRST ST NE #908
                    WASHINGTON, DC 20002
       26d.3.       AIG
                    1 FINANCIAL SQUARE
                    NEW YORK, NY 10005
       26d.4.       AMERICAN EXPRESS
                    ATTN: MECHANT REMITTANCES
                    PO BOX 53765
                    PHOENIX, AZ 85072
       26d.5.       AMERICAN EXPRESS
                    PO BOX 650448
                    DALLAS, TX 75265
       26d.6.       AMERICAN EXPRESS
                    PO BOX 1270
                    NEWARK, NJ 07101

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       Name and address
       26d.7.  AMERICAN EXPRESS CENTURION BANK
                    GURSTEL CHARGO PA
                    6681 COUNTRY CLUB DR
                    GOLDEN VALLEY, MN 55427
       26d.8.       AMERICAN VETERINARY MEDICAL ASSOC
                    1931 N MEACHAM RD
                    SUITE 100
                    SCHAUMBURG, IL 60173
       26d.9.       ARIZONA STATE BOARD FOR PRIVATE
                    POSTSECONDARY EDUCATION
                    1740 W. ADAMS
                    PHOENIX, AZ 85007
       26d.10.      BANK OF AMERICA
                    100 NORTH TRYON STREET
                    CHARLOTTE, NC 28255
       26d.11.      CAMPUS MANAGEMENT CORP
                    5201 CONGRESS AVE
                    SUITE 220A
                    BOCA RATON, FL 33487
       26d.12.      CAPITAL ONE BANK (CSA), N.A
                    ROANOKE COUNTY GENERAL DIST CT
                    305 E. MAIN STREET
                    SALEM, VA 24153
       26d.13.      CDG GROUP LLC
                    650 FIFTH AVE
                    NEW YORK, NY 10019
       26d.14.      CDW GOVERNMENT, INC
                    75 REMITTANCE DR
                    SUITE 1515
                    CHICAGO, IL 60675
       26d.15.      CENGAGE LEARNING
                    PO BOX 95999
                    CHICAGO, IL 60694
       26d.16.      CIGNA GROUP INSURANCE
                    PO BOX 13701
                    PHILADELPHIA, PA 19101
       26d.17.      CIGNA HEALTH CARE
                    PO BOX 644546
                    PITTSBURGH, PA 15264
       26d.18.      COMMISSION ON ACCREDITATION FOR
                    RESPITORY CARE
                    1248 HARWOOD ROAD
                    BEDFORD, TX 76021-4244
       26d.19.      COMMISSION ON ACCREDITATION OF ALLIED
                    HEALTH EDUCATION PROGRAMS
                    25400 US HIGHWAY 19 NORTH
                    SUITE 158
                    CLEARWATER, FL 33763
       26d.20.      COMMISSION ON DENTAL ACCREDITATION
                    211 EAST CHICAGO AVENUE
                    CHICAGO, IL 60611

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       Name and address
       26d.21. COMMITTEE ON ACCREDITATION OF EDUCATIONA
                    EDUCATIONAL PROGRAMS FOR THE
                    EMS PROFESSIONS
                    8301 LAKEVIEW PKWY, SUITE 111-312
                    ROWLETT, TX 75088
       26d.22.      COUNCIL ON OCCUPATIONAL EDUCATION
                    7840 ROSWELL RD, BLDG 300
                    SUITE 325
                    ATLANTA, GA 30350
       26d.23.      DELL FINANCIAL SERVICES
                    PAYMENT PROC. CTR.
                    4319 COLLECTION CENTER DRIVE
                    CHICAGO, IL 60693
       26d.24.      DELTA MANAGEMENT ASSOCIATES INC
                    PO BOX 9191
                    CHELSEA, MA 02150
       26d.25.      DIXON HUGHES GOODMAN, LLP
                    PO BOX 602828
                    CHARLOTTE, NC 28260
       26d.26.      ED MAP, INC.
                    PO BOX 714569
                    CINCINNATI, OH 45271
       26d.27.      EDUCATION PARTNERS LLC
                    5501-A BALCONES DR
                    STE 209
                    AUSTIN, TX 78731
       26d.28.      EDUFFICIENT - OTHER
                    6 FOREST AVE
                    2ND FLOOR
                    PARAMUS, NJ 07652
       26d.29.      GEORGIA NONPUBLIC POSTSECONDARY EDUCATIO
                    2082 E EXCHANGE PLACE
                    SUITE 220
                    TUCKER, GA 30084
       26d.30.      KIRKLAND & ELLIS LLP
                    300 NORTH LASALLE ST
                    CHICAGO, IL 60654
       26d.31.      LOUISIANA BOARD OF REGENTS
                    1201 N 3RD ST #6
                    BATON ROUGE, LA 70802
       26d.32.      MBC CARLISLE LP
                    PO BOX 472
                    950 E MAIN ST
                    SCHUYLKILL HAVEN, PA 17972
       26d.33.      MCGRAW HILL
                    EDUCATION HOLDINGS
                    WELLS FARGO LOCKBOX 6167
                    PHILADELPHIA, PA 19178
       26d.34.      MCGRAW-HILL COMPANIES
                    PO BOX 786167
                    PHILADELPHIA, PA 19178

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       Name and address
       26d.35. MCGRAW-HILL COMPANIES
                    WELLS FARGO LOCKBOX 6167
                    PO BOX 8500
                    PHILADELPHIA, PA 19178
       26d.36.      MEDICAL ASSISTING EDUCATION REVIEW BOARD
                    20 N WACKER DR
                    SUITE 1575
                    CHICAGO, IL 60606
       26d.37.      NATIONAL ACCREDITING AGENCY FOR CLINICAL
                    27321 NETWORK PLACE
                    CHICAGO, IL 60673
       26d.38.      NATIONAL AUTOMOTIVE TECHNICIANS
                    EDUCATION FOUNDATION
                    101 BLUE SEAL DRIVE, SE
                    SUITE 101
                    LEESBURG, VA 20175
       26d.39.      NORTH CAROLINA COMMUNITY COLLEGE SYS
                    200 W JONES ST
                    RALEIGH, NC 27603
       26d.40.      OHIO STATE BOARD OF CAREER COLLEGES AND
                    SCHOOLS
                    30 EAST BROAD STREET
                    SUITE 2481
                    COLUMBUS, OH 43215
       26d.41.      PEARSON EDUCATION
                    PO BOX 409479
                    ATLANTA, GA 30384
       26d.42.      PENNSYLVANIA DEPARTMENT OF EDUCATION
                    333 MARKET STREET
                    HARRISBURG, PA 17126
       26d.43.      PENNSYLVANIA WORKFORCE DEVELOPMENT ASSOC
                    205 HOUSE AVENUE
                    SUITE 101
                    CAMP HILL, PA 17011
       26d.44.      PENSKE TRUCK LEASING
                    PO BOX 802577
                    CHICAGO, IL 60680
       26d.45.      PHEAA
                    1200 NORTH 7TH ST
                    HARRISBURG, PA 17102
       26d.46.      PHEAA
                    PO BOX 64849
                    BALTIMORE, MD 21264
       26d.47.      PITNEY BOWES
                    1313 N ATLANTIC FL 3
                    SPOKANE, WA 99201
       26d.48.      RANDSTAD
                    MAIL CODE (5602)
                    PO BOX 105046
                    ATLANTA, GA 30348


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       Name and address
       26d.49. RLI
                    9025 N LINDBERGH DRIVE
                    PEORIA, IL 61615
       26d.50.      SALESFORCE.COM, INC
                    PO BOX 203141
                    DALLAS, TX 75320
       26d.51.      SOUTH CAROLINA HIGHER EDUCATION COMMISSI
                    1122 LADY ST #300
                    COLUMBIA, SC 29201
       26d.52.      SPRINT- PO BOX 219903
                    PO BOX 219903
                    KANSAS CITY, MO 64121
       26d.53.      SPRINT-PO BOX 219100
                    PO BOX 219100
                    KANSAS CITY, MO 64121
       26d.54.      SPRINT-PO BOX 4181
                    PO BOX 4181
                    CAROL STREAM, IL 60197
       26d.55.      STAPLES INC
                    DEPT DC
                    PO BOX 415256
                    BOSTON, MA 02241
       26d.56.      STARR
                    399 PARK AVENUE, 8TH FLOOR
                    NEW YORK, NY 10022
       26d.57.      STATE COUNCIL OF HIGHER EDUCATION FOR VA
                    101 N 14TH STREET, 10TH FLOOR
                    RICHMOND, VA 23219
       26d.58.      STROOCK & STROOCK & LAVAN LLP
                    180 MAIDEN LANE
                    NEW YORK, NY 10038
       26d.59.      SUNTRUST BANK
                    TRUST FEE UNIT
                    PO BOX 26489
                    RICHMOND, VA 23261
       26d.60.      TENNESSEE HIGHER EDUCATION COMMISSION
                    TN HIGHER ED COMMISSION
                    404 JAMES ROBERTSON PKWY #1900
                    NASHVILLE, TN 37243
       26d.61.      T-MOBIL


       26d.62.      TRANSAMERICA
                    ACCOUNTS RECEIVABLE
                    PO BOX 20781
                    LEHIGH VALLEY, PA 18002
       26d.63.      TUCSON 5151 INVESTMENTS, LLC
                    1100 N WILMOT
                    TUCSON, AZ 85712



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       Name and address
       26d.64. U.S. BANK EQUIPMENT FINANCE
                    PO BOX 790448
                    ST LOUIS, MO 63179
       26d.65.      UNITED VAN LINES - JOHNSON CHERRY CREEK
                    7009 SOUTH JORDAN RD
                    CENTENNIAL, CO 80112
       26d.66.      UNITED VAN LINES dba SMITH DRAY LINE
                    22304 NETWORK PLACE
                    CHICAGO, IL 60673
       26d.67.      US DEPAR OF ED-BOX 530229
                    GREAT LAKES
                    PO BOX 530229
                    ATLANTA, GA 30353
       26d.68.      US DEPARTMENT OF EDUCATION
                    PO BOX 979026
                    ST LOUIS, MO 63197
       26d.69.      US DEPARTMENT OF EDUCATION
                    DEBT MGMT & COLLECTIONS SYSTEM
                    PO BOX 5609
                    GREENVILLE, TX 75403
       26d.70.      US DEPARTMENT OF EDUCATION
                    400 MARYLAND AVENUE SW
                    WASHINGTON, DC 20202
       26d.71.      US DEPARTMENT OF VETERAN AFFAIRS
                    DEBT MANAGEMENT CENTER
                    BISHOP HENRY WHIPPLE FEDERAL BLDG
                    ST PAUL, MN 55111
       26d.72.      US DEPARTMENT OF VETERANS AFFAIRS
                    ST LOUIS REGIONAL OFFICE
                    PO BOX 66830
                    ST LOUIS, MO 63166
       26d.73.      US DEPT OF EDUCATION
                    DIRECT LOAN PAYMENT CENTER
                    PO BOX 530260
                    ATLANTA, GA 30353
       26d.74.      VERIZON - PO BOX 660720
                    PO BOX 660720
                    DALLAS, TX 75266
       26d.75.      VERIZON BOX 28000, LEHIGH REMIT
                    PO BOX 28000
                    LEHIGH VALLEY, PA 18002
       26d.76.      VERIZON BUSINESS-BOX 15043
                    PO BOX 15043
                    ALBANY, NY 12212
       26d.77.      VERIZON- PO BOX 15124
                    PO BOX 15124
                    ALBANY, NY 12212
       26d.78.      VERIZON WIRELESS-BOX 25505
                    PO BOX 25505
                    LEHIGH VALLEY, PA 18002

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       Name and address
       26d.79. VERIZON-PO BOX 4830
                    PO BOX 4830
                    TRENTON, NJ 08650
       26d.80.      VERIZON-PO BOX 920041 DALLAS
                    PO BOX 920041
                    DALLAS, TX 75392
       26d.81.      W-EH ECC OWNER VI, LLC / WALTON ACQUISIT
                    C/O CBRE - ELLIOT CORP CENTER
                    PO BOX 82550
                    GOLETA, CA 93118
       26d.82.      WELLS FARGO BANK NA
                    PO BOX 70239
                    PHILADELPHIA, PA 19176
       26d.83.      WELLS FARGO BANK NA - BUYOUTS
                    PO BOX 310594
                    DES MOINES, IA 50331
       26d.84.      WELLS FARGO EFS-PO BOX 5185
                    P.O. BOX 5185
                    SIOUX FALLS, SD 57117
       26d.85.      WELLS FARGO ELT
                    STUDENT ASSISTANCE FOUNDATION
                    2500 BROADWAY
                    HELENA, MT 59620
       26d.86.      WELLS FARGO FINANCIAL LEASING
                    PO BOX 10306
                    DES MOINES, IA 50306
       26d.87.      WILLIS AND ASSOCIATES
                    150 WEST MAIN STREET, SUITE 1840
                    NORFOLK, VA 23510
       26d.88.      WILLIS OF NEW YORK, INC.
                    PO BOX 4557
                    NEW YORK, NY 10249
       26d.89.      WILLIS OF TENNESSEE
                    29982 NETWORK PLACE
                    CHICAGO, IL 60673
       26d.90.      WILLIS OF TENNESSEE-PO BOX 905601
                    PO BOX 905601
                    CHARLOTTE, NC 28290
       26d.91.      WILLIS OF VIRGINIA, INC.-12882 COLL CENT
                    12882 COLLECTIONS CENTER DR
                    CHICAGO, IL 60693
       26d.92.      XEROX CORP
                    PO BOX 7405
                    PASADENA, CA 91109
       26d.93.      XEROX CORP-BOX 827598
                    PO BOX 827598
                    PHILADELPHIA, PA 19182
       26d.94.      XEROX CORP-BX 650361
                    PO BOX 650361
                    DALLAS, TX 75265
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       Name and address
       26d.95. XEROX EDUCATION SERVICES INC
                    PO BOX 201322
                    DALLAS, TX 75320

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nicholas A. Orum                                                                                   Director


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joseph A. Kennedy, III                                                                             Director


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Williard E. Lynn                                                                                   Director


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Martina Hansen                                 107 S West Street, Ste. 823                         Chief Executive Officer
                                                      Alexandria, VA 22314

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Delta Career Education                         P.O. Box 1197                                       Stockholder                           100
       Corporation                                    Richmond, VA 23218



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       John P. Olsen                                                                                      President and Chief
                                                                                                          Executive Officer

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Timothy J. Ryder                                                                                   Interim Chief Financial
                                                                                                          Officer



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       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Bill Nance                                                                                         Vice President


       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Kevin A. Smith                                                                                     Treasurer


       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Charles P. Brissman                                                                                Secretary



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See SOFA questions 3 and 4
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Delta Career Education Corporation                                                                         EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on           7/27/2018

     /s/ Martina Hansen                                                 Martina Hansen
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO Delta Education Systems, Inc.

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                               United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re        Delta Education Systems, Inc.                                                                   Case No.
                                                                                    Debtor(s)                 Chapter      7


                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
       compensation paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
       bankruptcy case is as follows:
           For legal services, I have agreed to accept                                                    $                19,285.71
           Prior to the filing of this statement I have received                                          $                19,285.71
           Balance Due                                                                                    $                       0.00

2.     $     335.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

               Debtor                   Other (specify)            See Global Notes

4.     The source of compensation to be paid to me is:
               Debtor                   Other (specify)            N/A

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
              copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.


6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. Other provisions as needed:



7.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.
                 7/27/2018                                                      /s/ Peter J. Barrett
     Date                                                                     Peter J. Barrett 46179
                                                                              Signature of Attorney

                                                                              Kutak Rock LLP
                                                                              Name of Law Firm
                                                                              901 East Byrd Street
                                                                              Suite 1000
                                                                              Richmond, VA 23219
                                                                              804-644-1700 Fax: 804-783-6192



                                        For use in Chapter 13 Cases where Fees Requested Not in Excess of $5,223
                                                        (For all Cases Filed on or after 01/01/2018)
                        NOTICE TO DEBTOR(S), STANDING CHAPTER 13 TRUSTEE AND UNITED
                                               STATES TRUSTEE
                             PURSUANT TO LOCAL BANKRUPTCY RULE 2016-1(C) AND
                                         CLERK’S CM/ECF POLICY 9

            Notice is hereby given that pursuant to Local Bankruptcy Rule 2016-1(C), you must file an objection with the court to the fees requested
 in this disclosure of compensation opposing said fees in their entirety, or in a specific amount, no later than the last day for filing objections to
 confirmation of the chapter 13 plan.

                                                                     PROOF OF SERVICE
           The undersigned hereby certifies that on this date the foregoing Notice was served upon the debtor(s), the standing Chapter 13 trustee,
 and U. S. trustee pursuant to Local Bankruptcy Rule 2016-1(C) and the Clerk’s CM/ECF Policy 9, either electronically or in paper form (first class
 mail).

     Date
                                                                                     Signature of Attorney




[2030edva ver. 01/18]
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                         Academy of Court Reporting, Inc.
                         c/o The UPS Store
                         107 S West Street, Ste. 823
                         Alexandria, VA 22314


                         Atlantic Coast Colleges, Inc.
                         c/o The UPS Store
                         107 S West Street, Ste. 823
                         Alexandria, VA 22314


                         Baltimore County
                         c/o Baltimore County Attorney
                         400 Washington Avenue
                         Towson, MD 21204


                         Berks County
                         c/o Berks County Solicitor
                         633 Court Street, 13th Floor
                         Reading, PA 19601


                         Berks Technical Institutel, Inc.
                         c/o The UPS Store
                         107 S West Street, Ste. 823
                         Alexandria, VA 22314


                         Borough of Carlisle
                         c/o Carlisle Borough Attorney
                         53 W South Street
                         Carlisle, PA 17013


                         Borough of Catasauqua
                         c/o Lehigh County Attorney
                         455 Hamilton Street
                         Allentown, PA 18101


                         Borough of Hanover
                         c/o York County Attorney
                         45 N George Street
                         York, PA 17401


                         Borough of West Goshen
                         c/o Chester County District Attorney
                         201 W Market Street, #4450
                         West Chester, PA 19382
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                     Borough of Wyomissing
                     c/o Wyomissing Attorney
                     22 Reading Boulevard
                     Wyomissing, PA 19610-2083


                     Bucks County
                     c/o Bucks County District Attorney
                     100 N. Main Street
                     Doylestown, PA 18901


                     Chester County
                     c/o Chester County Attorney
                     201 W. Market Street, Suite 4450
                     West Chester, PA 19380-0989


                     City of Cincinnati
                     c/o Cincinnati City Attorney
                     801 Plum Street
                     Cincinnati, OH 45202


                     City of Columbus
                     c/o Columbus City Attorney
                     77 North Front Street
                     Columbus, OH 43215


                     City of Dayton
                     c/o Dayton City Attorney
                     101 W. Third Street
                     Dayton, OH 45402


                     City of Granville
                     c/o Licking County Attorney
                     20 S. Second Street
                     Newark, OH 43055


                     City of Hazelton
                     c/o Luzerne County Attorney
                     200 N River Street
                     Wilkes Barre, PA 18711


                     City of Pottsville
                     c/o Schuylkill County Attorney
                     401 N 2nd Street
                     Pottsville, PA 17901
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                     City of Springboro
                     c/o Warren County Attorney
                     500 Justice Drive
                     Lebanon, OH 45036


                     City of Sunbury
                     c/o Sunbury City Attorney
                     225 Market Street
                     Sunbury, PA 17801


                     City of Troy
                     c/o Miami County Attorney
                     201 W. Main Street, 2nd Floor
                     Troy, OH 45373


                     County of Anne Arundel
                     c/o Anne Arundel County Attorney
                     Heritage Complex, 2660 Riva Road
                     Annapolis, MD 21404


                     County of Montgomery
                     c/o Montgomery County Attorney
                     2 E. Airy Street
                     Norristown, PA 19401


                     Creative Circus, Inc.
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314


                     Cumberland County
                     c/o Cumberland County District Attorney
                     1 Courthouse Square, Room 202
                     Carlisle, PA 17013


                     Delta Career Education Corporation
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314


                     District of Columbia
                     c/o District of Columbia Attorney
                     555 4th Street, NW
                     Washington, DC 20530
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                     Field Point Agency Services, Inc.
                     80 Field Point Road, Ste. 101
                     Greenwich, CT 06830


                     Internal Revenue Service
                     400 N. 8th Street
                     P.O. Box 76
                     Richmond, VA 23219


                     Lehigh County
                     c/o Lehigh County Attorney
                     455 Hamilton Street
                     Allentown, PA 18101


                     Luzerne County
                     c/o Luzerne County Attorney
                     200 North River Street
                     Wilkes Barre, PA 18711


                     Marblegate Special Opportunities
                     Master Fund, L.P.
                     80 Field Point Road, Ste. 101
                     Greenwich, CT 06830


                     McCann Education Centers
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314


                     McCann School of Business and Technology
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314


                     Miller-Motte Business College, Inc.
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314


                     National Career Education, Inc.
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314
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                     Newton Township
                     c/o Bucks County District Attorney
                     100 N. Main Street
                     Doylestown, PA 18901


                     Palmetto Technical College, Inc.
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314


                     Perkiomen Valley School District
                     3 Iron Bridge Drive
                     Collegeville, PA 19426


                     Piedmont Business Colleges, Inc.
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314


                     Schuykill County
                     c/o Schuykill County Attorney
                     401 N 2nd Street
                     Pottsville, PA 17901


                     Southwest Business Colleges, Inc.
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314


                     State of Alabama
                     c/o Alabama Attorney General
                     P.O. Box 300152
                     Montgomery, AL 36130-0152


                     State of Arizona
                     c/o Arizona Attorney General
                     2005 N. Central Avenue
                     Phoenix, AZ 85004


                     State of California
                     c/o California Attorney General
                     600 W. Broadway 1800
                     San Diego, CA 92101
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                     State of Colorado
                     c/o Colorado Attorney General
                     1300 Broadway, 7th Floor
                     Denver, CO 80203


                     State of Florida
                     c/o Florida Attorney General
                     The Capitol PL-01
                     Tallahassee, FL 32399-1050


                     State of Georgia
                     c/o Georgia Attorney General
                     40 Capitol Square, SW
                     Atlanta, GA 30334


                     State of Illinois
                     c/o Illinois Attorney General
                     100 W. Randolph St., 12th Floor
                     Chicago, IL 60601


                     State of Iowa
                     c/o Iowa Attorney General
                     1305 E Walnut Street, #2
                     Des Moines, IA 50319


                     State of Kansas
                     c/o Kansas Attorney General
                     3635 SW Avalon Lane
                     Topeka, KS 66604


                     State of Louisiana
                     c/o Louisiana Attorney General
                     1885 N 3rd Street
                     Baton Rouge, LA 70802


                     State of Maryland
                     c/o Maryland Attorney General
                     200 Saint Paul Street
                     Baltimore, MD 21202


                     State of Michigan
                     c/o Michigan Attorney General
                     525 W Ottawa Street
                     Lansing, MI 48933
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                     State of Mississippi
                     c/o Mississippi Attorney General
                     550 High Street
                     Jackson, MS 39201


                     State of Montana
                     c/o Montana Attorney General
                     215 N Sanders Street
                     Helena, MT 59601


                     State of Nevada
                     c/o Nevada Attorney General
                     100 N Carson Street
                     Carson City, NV 89701


                     State of New Mexico
                     c/o New Mexico Attorney General
                     408 Galistero Street, Villagra Building
                     Santa Fe, NM 87501


                     State of North Carolina
                     c/o North Carolina Attorney General
                     114 W Edenton Street
                     Raleigh, NC 27603


                     State of Ohio
                     c/o Ohio Attorney General
                     30 E. Broad St., 14th Floor
                     Columbus, OH 43215


                     State of Pennsylvania
                     c/o Pennsylvania Attorney General
                     Strawberry Square
                     Harrisburg, PA 17120


                     State of South Carolina
                     c/o South Carolina Attorney General
                     1000 Assembly Street, Room 519
                     Columbia, SC 29201


                     State of Tennessee
                     c/o Tennessee Attorney General
                     P.O. Box 20207
                     Nashville, TN 37202-0207
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                     State of Texas
                     c/o Texas Attorney General
                     P.O. Box 12548
                     Austin, TX 78711-2548


                     State of Virginia
                     c/o Virginia Attorney General
                     202 North 9th Street
                     Richmond, VA 23219


                     State of Wisconsin
                     c/o Wisconsin Attorney General
                     114 E State Capitol
                     Madison, WI 53702


                     The Miami-Jacobs Business College Co.
                     c/o The UPS Store
                     107 S West Street, Ste. 823
                     Alexandria, VA 22314


                     Twin Valley School District
                     4851 N. Twin Valley Road
                     Elverson, PA 19520


                     Wilkes-Barre Township
                     c/o Luzerne County Attorney
                     200 N River Street
                     Wilkes Barre, PA 18711


                     Wilmington School District
                     300 Wood Street
                     New Wilmington, PA 16142


                     Xenia School District
                     819 Colorado Drive
                     Xenia, OH 45385
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                                                               United States Bankruptcy Court
                                                                     Eastern District of Virginia
 In re      Delta Education Systems, Inc.                                                                Case No.
                                                                                     Debtor(s)           Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Delta Education Systems, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Delta Career Education Corporation
 P.O. Box 1197
 Richmond, VA 23219




 None [Check if applicable]




         7/27/2018                                                    /s/ Peter J. Barrett
 Date                                                                Peter J. Barrett 46179
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Delta Education Systems, Inc.
                                                                     Kutak Rock LLP
                                                                     901 East Byrd Street
                                                                     Suite 1000
                                                                     Richmond, VA 23219
                                                                     804-644-1700 Fax:804-783-6192
                                                                     peter.barrett@kutakrock.com




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                        ACTION BY WRITTEN CONSENT OF THE
                             BOARD OF DIRECTORS OF
                         DELTA EDUCATIONAL SYSTEMS, INC.
                                a Virginia corporation


The undersigned being all the members of the Board of Directors (the “Board”) of Delta
Educational Systems, Inc., a Virginia corporation (the “Corporation”), does hereby adopt the
following recitals and resolutions by written consent in lieu of a meeting in accordance with the
provisions of Section 13.1-685 of the Code of Virginia, effective as of June __, 2018:

WHEREAS, the Board has considered the financial and operational conditions of the
Corporation’s business;

WHEREAS, the Board has reviewed the historical performance of the Corporation, the assets of
the Corporation, the market for the Corporation’s services, the availability of financing and the
current and long-term liabilities of the Corporation;

WHEREAS, on January 18, 2018, STVT-AAI Education, Inc., doing business as Ancora
Education, acquired certain indirect assets from an affiliate of the Corporation, Delta Career
Education Corporation, including campuses operating under the names of Berks Technical
Institute, McCann School of Business and Technology, Miller-Motte College, Miller Motte
Technical College and Creative Circus as well as certain campuses that offered professional truck
driver training under the name of International Schools (the “Asset Sale”);

WHEREAS, immediately after the closing of the Asset Sale, the Corporation and its affiliates
engaged in a wind-down of any remaining assets of the Corporation and its affiliates, which wind-
down has now been completed;

WHEREAS, the Board has reviewed, considered and received the recommendations of the senior
management of the Corporation and the advice of the Corporation’s legal, financial and other
professionals and advisors with respect to potential avenues for relief that are available to the
Board on behalf of the Corporation, including the risks, benefits and possibility of pursuing an
orderly liquidation of the Corporation’s business and assets under Chapter 11 of Title 11 of the
United States Code (the “Bankruptcy Code”);

WHEREAS, the Board has reviewed, considered and received the recommendations of the senior
management of the Corporation and the advice of the Corporation’s legal, financial and other
professionals and advisors with respect to the possibility for success in pursuing an orderly
liquidation, in light of: (i) the Asset Sale; (ii) the wind-down of the remaining assets of the
Corporation; (iii) the unavailability of financing to the Corporation; and (iv) the inability of the
Corporation to generate cash as a result of the wind-down of its assets;

WHEREAS, the Board has reviewed, considered and received the recommendations of the senior
management of the Corporation and the advice of the Corporation’s legal, financial and other
professionals and advisors that the Corporation does not have a reasonable possibility of success
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